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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                        RIANA BUFFIN, ET AL.,
                                   7                                                        Case No. 15-cv-04959-YGR
                                                       Plaintiffs,
                                   8
                                                v.                                          ORDER DENYING MOTION FOR
                                   9                                                        TEMPORARY RESTRAINING ORDER AND
                                        CITY AND COUNTY OF SAN FRANCISCO, ET                SETTING TELECONFERENCE
                                  10    AL.,
                                                                                            Re: Dkt. No. 2
                                  11                   Defendants.

                                  12          On October 28, 2015, plaintiffs filed their complaint and motion for a temporary
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                                  13   restraining order and preliminary injunction. (Dkt. Nos. 1, 2.) Later that day, plaintiffs filed a

                                  14   class certification motion, set for hearing on December 8, 2015. (Dkt. Nos. 7, 12.) Defendants

                                  15   were served with the complaint and motion for a temporary restraining order and preliminary

                                  16   injunction yesterday. Having reviewed the papers submitted, the Court DENIES the motion for a

                                  17   temporary restraining order and SETS a teleconference to establish a briefing schedule on the

                                  18   motion for a preliminary injunction.

                                  19          Plaintiff Rianna Buffin was arrested on October 26, 2015 and charged with grand theft of

                                  20   personal property and conspiracy. (Dkt. No. 1 (“Complaint”) ¶¶ 9-10.) She could have secured

                                  21   pretrial release with a $30,000 bail payment pursuant to San Francisco’s bail schedule, but is

                                  22   purportedly unable to afford the payment. (Id. ¶ 11.) Plaintiff Crystal Patterson was arrested on

                                  23   October 27, 2015 and charged with assault with force causing great bodily injury. (Id. ¶ 15.) Her
                                       pretrial release bail was set at $150,000 pursuant to the schedule, an amount she is also allegedly
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                                       unable to pay. (Id. ¶ 16.) Both defendants were expected to be brought before a judge within 72
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                                       hours of arrest. (Id. ¶ 13.) Thus, they may have already been released from custody. The motion
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                                       seeks to enjoin defendants from holding plaintiffs and those similarly situated in jail without
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                                       offering release on unsecured bond or recognizance where they are unable to pay the applicable
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                                   1   bail amounts. (Dkt. No. 2 at 24.)

                                   2           Requests for temporary restraining orders are governed by the same general standards that

                                   3   govern the issuance of a preliminary injunction. See New Motor Vehicle Bd. v. Orrin W. Fox Co.,

                                   4   434 U.S. 1345, 1347 n.2 (1977); Stuhlbarg lnt'l Sales Co., Inc. v. John D. Brush & Co., Inc., 240

                                   5   F.3d 832, 839 n. 7 (9th Cir. 2001). A preliminary injunction is an “extraordinary and drastic

                                   6   remedy” that is never awarded as of right. Munaf v. Geren, 553 U.S. 674, 689-690 (2008)

                                   7   (internal citations omitted). Whether seeking a temporary restraining order or a preliminary

                                   8   injunction, a plaintiff must establish four factors: (1) that she is likely to succeed on the merits; (2)

                                   9   that she is likely to suffer irreparable harm in the absence of preliminary relief; (3) that the balance

                                  10   of equities tips in her favor; and (4) that an injunction is in the public interest. Winter v. Natural

                                  11   Resources Defense Council. Inc., 555 U.S. 7, 20 (2008).
                                               As a preliminary matter, the Court notes that the instant motion seeks affirmative relief—
                                  12
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                                       namely, the immediate release, prior to a hearing or a response by defendants, of not only the
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                                       named plaintiffs but of a large number of individuals from pretrial custody without imposition of
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                                       the typical bail requirement. “Ex parte temporary restraining orders are no doubt necessary in
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                                       certain circumstances, but under federal law they should be restricted to serving their underlying
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                                       purpose of preserving the status quo and preventing irreparable harm just so long as is necessary
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                                       to hold a hearing, and no longer.” Granny Goose Foods, Inc. v. Bhd. of Teamsters, 415 U.S. 423,
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                                       439 (1974) (citations omitted); see also Stanley v. Univ. of S. California, 13 F.3d 1313, 1320 (9th
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                                       Cir. 1994) (noting mandatory injunctions, which go “beyond simply maintaining the status quo,”
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                                       are “particularly disfavored” and requests therefor should be denied “unless the facts and law
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                                       clearly favor” the movant) (internal quotations and citations omitted); Sosa v. Lantz, 660 F. Supp.
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                                       2d 283, 290 (D. Conn. 2009) (denying motion for temporary restraining order seeking “affirmative
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                                       relief changing the status quo” where prisoner sought a larger cell and a non-Muslim cellmate)
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                                       (emphasis in original). While the Court takes no position on the underlying merits of the claims,
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                                       plaintiffs have failed to establish at this juncture that a temporary restraining order is in the public
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                                       interest and granting it as requested would constitute a significant departure from the status quo.
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                                       The Court finds that, despite any intervening harm to plaintiffs, the equities favor maintaining the
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                                   1   status quo pending a response from defendants. Moreover, the allegations of the complaint

                                   2   suggest named plaintiffs may have already been released from custody.

                                   3          Therefore, the Court SETS a teleconference for Monday, November 2, 2015 to set a

                                   4   briefing schedule on the motion for a preliminary injunction. Counsel for plaintiffs shall meet and

                                   5   confer with defense counsel and agree upon a time for the call. Plaintiffs shall inform the Court of

                                   6   the agreed upon time and dial-in number through the Courtroom Deputy.

                                   7          IT IS SO ORDERED.

                                   8   Dated: October 30, 2015

                                   9                                                  ______________________________________
                                                                                            YVONNE GONZALEZ ROGERS
                                  10                                                   UNITED STATES DISTRICT COURT JUDGE
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